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                                   STATEMENT OF FACTS

       Your affiant, Kathleen Orndorff is a Special Agent with the FBI. Currently, I am a tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Special Agent I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

        U.S. Capitol Police secure the U.S. Capitol 24 hours a day. Restrictions around the U.S.
Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.


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        On January 10, 2021, the Metropolitan Police Department (MPD) received a text tip with
a link to the social media platform TikTok. The TikTok link led to video posted on a known
TikTok user’s account (hereinafter “User 1”); that video appeared to be a screen recording of a
second video that had been posted on the TikTok page of the user “Mustafas_Pride.” The video
from the Mustafas_Pride TikTok account depicted an individual later identified as RYAN SETH
SULESKI (SULESKI), speaking to the camera about the riots at the U.S. Capitol. In the video,
SULESKI claimed that he was in the “initial wave of people that forced our way into the Capitol
building.” SULESKI went on to say that, he “got tear gas grenaded” and “got hit with some rubber
bullets.” User 1’s video then cut-off SULESKI’s video and went on to criticize SULESKI.

       User 1’s video also screen recorded another, older video published on the Mustafas_Pride
TikTok account, dated June 1, 2020. This second video showed an assault rifle with a scope lying
on a table, and an extended magazine lying next to it. Text superimposed on the video read,
“wanna come up to white neighborhoods…We Ready.” SULESKI’s name also appeared at the
bottom of the post.




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        An open source internet search revealed a video posted to YouTube in which another
known TikTok user (hereinafter “User 2”) posted the same TikTok video of SULESKI discussing
the Capitol riots alongside a video of themselves (User 2) reacting to the video, known as a “duet.”
See https://www.youtube.com/watch?v=3QtNbVwKn4Q (last visited Mar. 3, 2021).




The TikTok duet video posted to YouTube by User 2 is slightly longer in length than the video
posted by User 1, and contains additional statements by SULESKI. In the video posted by User
2, SULESKI began by saying, “So, I’m pretty sure everybody’s been watching the news about
what happened in Washington, D.C. today.” He also reported that he “got a CS gas canister
dropped on” him. SULESKI stated that, “today was fucking nuts. But, we got our point across.
We showed how weak their defense was. And we showed Congress that America is tired of being
fucking quiet and that we’re about that life.”

        On January 13, 2021, an identified individual (hereinafter “Witness 1”) called the FBI
National Threat Operations Center and identified SULESKI as a person of interest (POI) depicted
in       a        photograph          on         the       MPD          website.            See
https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/POIs%20of%20Inte
rest_1.28.21.pdf (last visited Mar. 3, 2021). Witness 1 sent to the FBI what appears to be a
screenshot of the MPD POI photograph.




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The tip as provided by Witness 1 included the circle around the image of SULESKI.

        Witness 1 reported that they heard from their relative that SULESKI and SULESKI’s
relative were saying that SULESKI had been inside the Capitol and that SULESKI had allegedly
stolen mail from the Capitol. A follow up interview with Witness 1 revealed that Witness 1 did
not know SULESKI personally and had never seen him in person. Witness 1 reported that they
only knew SULESKI through Witness 1’s relative; Witness 1’s relative sent Witness 1 the photo
of SULESKI. Reportedly, Witness 1’s relative had not seen SULESKI in over a year.

         On January 18, 2021, FBI agents went to SULESKI’s residence, and interviewed
SULESKI. SULESKI admitted to being inside the Capitol on January 6, 2021, but claimed that
he left as soon as he was told to do so. SULESKI told the agents that he decided to attend President
Trump’s rally at the Ellipse in Washington, D.C. He stated that he did not plan on going into the
Capitol, but wanted to be there to show support for President Trump. SULESKI reported that
halfway through the rally, he heard people start talking about the Capitol, and he remembered
January 6th was the date Congress certified the election results. SULESKI told the agents that he
then remembered that protesters had been permitted into the Capitol during previous Supreme
Court nomination proceedings, so he decided to go see if anyone would be let into the Capitol.

       According to SULESKI, when he arrived at the Capitol, he saw a big crowd and did not
think he would get in to the building. He stated that he saw some barricades and wondered why
they were there. SULESKI said that a moment later, a police officer spread apart one of the
barricades and shot rubber bullets at the crowd, one of which struck SULESKI in the back of the
leg. SULESKI claimed he still had the rubber bullet in his possession. SULESKI reported a tear
gas canister then went off at his feet. SULESKI stated that he did not see any other barriers or
knowingly cross them, and believed the crowd ahead of him must have moved them.

       SULESKI reported that he went up the stairs to the Capitol and was taking pictures of the
area when he realized that people were going into the Capitol building. SULESKI said that he
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decided to follow, and entered the Capitol building through the West Entrance. According to
SULESKI, when he was inside the Capitol building he observed people trying to break in through
doors and windows at the East Entrance. SULESKI reported that once they broke in, the crowd
from the East side started fighting with the police, and he went upstairs to get away from the
fighting. SULESKI claimed that once he got upstairs, he looked down to “document what was
happening.”

       SULESKI told the agents that about 30 seconds later, police told him to leave the building,
and he did so immediately. SULESKI estimated he was inside the Capitol building for
approximately two minutes. SULESKI said that when he left, he ran into a BBC reporter and
spoke with the reporter about what he saw inside the Capitol.

        According to SULESKI, he was not wearing any kind of plate carrier or armor. He stated
that he was wearing a t-shirt and a hooded jacket underneath a corduroy jacket, and blue jeans over
pajama pants. SULESKI claimed that the only reason he entered the Capitol was because he saw
other people enter. SULESKI further alleged that he did not see anyone fighting with the Capitol
police until he was inside the building.

        SULESKI confirmed that the TikTok video detailing his actions at the Capitol, referenced
supra, was correct. He claimed that TikTok removed his account after his post regarding the
Capitol. Your affiant would note that in the video posted on TikTok in which SULESKI described
what occurred at the Capitol, he was wearing clothing consistent with the clothes he was captured
wearing in photos at the Capitol. Indeed, his sunglasses with mirrored lenses, which he wore on
his head at the Capitol, are visible in the pocket of his jacket in the TikTok video. This, along with
the fact that SULESKI described in the video events that occurred in “Washington, D.C. today,”
supports the conclusion that SULESKI recorded this video on January 6, 2021.

        During the interview with agents, SULESKI advised that he is a Federal Firearms Licensed
(FFL) dealer. A review of law enforcement databases revealed that SULESKI possesses an FFL
through Obtuse Innovations LLC, which carries the same address as his residence. SULESKI is
listed as member and manager of Obtuse Innovations on the FFL.

        In a telephone follow-up interview on January 19, 2021, agents asked SULESKI about the
allegation that he had stolen mail from the Capitol. SULESKI stated he did not take any property
from the United States Capitol building. He acknowledged that he was carrying a tan backpack
with him during his time inside the Capitol, and at one point retrieved his water bottle from the
backpack, exposing the contents of the backpack. According to SULESKI, he could not think of
anything he would have picked up or touched that was not already in his possession before entering
the Capitol building, nor could he think of anything someone would have seen inside the backpack
that would be concerning. Agents asked SULESKI if he still had the backpack in his possession.
When SULESKI confirmed that he did, agents requested that he open the backpack and examine
its contents. SULESKI stated that when he opened the backpack, he realized the backpack
contained several loading slips from his job as a truck driver. SULESKI claimed that it was
possible he moved some of the loading slips around in order to gain access to his water bottle, and
someone observing him may have thought he picked up paperwork in the Capitol.



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       During this second interview, SULESKI reiterated multiple times he did not take any
property from the United States Capitol. He also stated that when he entered the Capitol, he
nodded at a Capitol Police officer, who nodded back, leading him to believe he was permitted to
enter. SULESKI alleged that once he was told to leave the Capitol, he did so immediately.

        On February 18, 2021, law enforcement interviewed an identified individual (hereinafter
“Witness 2”). A follow-up interview was conducted on February 26, 2021. During those
interviews, Witness 2 reported that they knew SULESKI for over one year and would see and
interact with SULESKI on a periodic basis, approximately once or twice a month. For a period of
several months, Witness 2 did not see SULESKI at all. When Witness 2 saw SULESKI again,
SULESKI told Witness 2 that he had been inside the U.S. Capitol building. Law enforcement
showed Witness 2 a picture of SULESKI inside the U.S. Capitol building, and Witness 2 identified
SULESKI as the person depicted.




        An open source review of TikTok revealed that a new account associated with SULESKI
with the username “liberty_lion” is now active. The account includes several videos of SULESKI
speaking to the camera about various topics. Also published on the “liberty_lion” TikTok account
is a video of an interview by a BBC reporter with SULESKI. The post is dated January 10.




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       In the interview, the BBC reporter stated to SULESKI, contextually referring to the events
of January 6, 2021, “That is just not how things are done in this country.” SULESKI responded,
“Right.” The reporter went on to say, “Lawlessness, storming buildings, even, and that is what
happened today.” SULESKI countered, “This nation wasn’t founded on civility. This nation was
founded on revolutionary activity. We became civil after the government realized that they got
overwhelmed.” The reporter asked SULESKI, “So, what happens now?” SULESKI answered, “I
guess now we wait and see if they take us seriously because they saw how easily we were able to
breach their defense.”

        A review of surveillance footage from inside the Capitol building on January 6, 2021,
captured a person consistent with SULESKI entering the building through the Upper West Terrace
door at 2:35 p.m. The individual is wearing the same coat, distinctive black t-shirt with white
lettering and an image of Texas, dark hooded coat/sweatshirt with the hood up, tan/brown jacket,
and mirrored sunglasses on his head. The individual in the below photograph also appears to have
a consistent build and complexion as SULESKI.




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Surveillance footage from the same area captured an individual consistent with SULESKI entering
the building from behind. This view shows SULESKI wearing a brown backpack with what
appears to be a distinctive green t-shirt with yellow writing or images tied to the back of the
backpack.




Surveillance footage shows that SULESKI walked through the double doors depicted in the above
screenshot, and went up the stairs with the rest of the crowd.

       Several minutes later, SULESKI, recognizable from the distinctive green t-shirt hanging
from his backpack, was captured by surveillance video walking through the empty House Gallery

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West hallway with two additional individuals. The trio walked all the way to the end of the
hallway, where there were papers laying on the ground outside what appears to be an office.




Upon reaching the end of the hallway, SULESKI and the other individual picked up some of the
papers, and looked at them.




The other individual dropped the papers back to the ground, but SULESKI kept the papers he had
picked up. Indeed, he rolled them up and started to secret them inside his jacket.




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SULESKI then changed his mind, took off his backpack, and placed the papers inside the
backpack. Your affiant spoke with members of the U.S. Capitol Police, who advised that the papers
taken by SULESKI were sitting outside the office of a known Congressman.




SULESKI placed the backpack back on his shoulders, and continued to walk through the Capitol
building. No other individuals entered the hallway in the time that SULESKI was there. The screen
shot of surveillance footage below captured the distinctive black t-shirt with white writing and the
image of Texas, the sunglasses perched on top of the hood, and the tan/brown jacket SULESKI
was observed wearing throughout the day on January 6, 2021.




A few minutes later, surveillance footage captured SULESKI walking through the Hall of
Columns, and ultimately leaving the Capitol building.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
RYAN SETH SULESKI violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other

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person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that RYAN SETH SULESKI
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

         Further, your affiant submits there is probable cause to believe that RYAN SETH SULESKI
violated 18 U.S.C. §§ 1512(c)(2) and 2, which makes it a crime to obstruct, influence, or impede any
official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.

        Finally, your affiant submits there is probable cause to believe that RYAN SETH
SULESKI violated 18 U.S.C. § 641, which makes it a crime for a person to embezzle, steal,
purloin, or knowingly convert to his use or the use of another, or without authority, sell, convey or
dispose of any record, voucher, money, or thing of value of the United States or of any department
or agency thereof, or any property made or being made under contract for the United States or any
department or agency thereof; or receive, conceal, or retain the same with intent to convert it to
his use or gain, knowing it to have been embezzled, stolen, purloined or converted.


                                                       _________________________________
                                                       Kathleen Orndorff
                                                       Special Agent, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of March 2021.
                                                                             2021.03.05
                                                                             16:36:01 -05'00'
                                                       ___________________________________
                                                       ROBIN M. MERIWEATHER
                                                       U.S. MAGISTRATE JUDGE




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